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July 30, 2010
VIA Electronic Filing

The Honorable William J. Martini

Martin Luther King Building & U.S. Courthouse
50 Walnut Street

Newark, New Jersey 07101

RE: Docket # 2:09-cv-06244-W.JM-MF, Memorandum on Jurisdiction Issues

Dear Judge Martini:
We represent the Plaintiff with regard to Docket # 2:09-cv-06244-WJM-MF.

Attached please find an electronic copy of our Memorandum on Jurisdiction Issues with
regard to the aforementioned case.

Respectfully Submitted,

Eric 8S. Poe, Esq.

Enclosure

